            Case 22-33553 Document 108 Filed in TXSB on 01/20/23 Page 1 of 6
                                                                                                    United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                           January 20, 2023
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

In re:                                                      §    Chapter 11
                                                            §
ALEXANDER E. JONES                                          §    Case No. 22-33553
                                                            §
           Debtor.                                          §
                                                            §

   ORDER GRANTING DEBTOR’S EMERGENCY MOTION FOR ORDER UNDER
   11 U.S.C. §§ 105(A) AND 366 (I) PROHIBITING UTILITY COMPANIES FROM
  ALTERING OR DISCONTINUING SERVICE ON ACCOUNT OF PREPETITION
INVOICES, (II) APPROVING DEPOSIT ACCOUNT AS ADEQUATE ASSURANCE OF
PAYMENT, AND (III) ESTABLISHING PROCEDURES FOR RESOLVING REQUESTS
    BY UTILITY COMPANIES FOR ADDITIONAL ASSURANCE OF PAYMENT

           On January 20, 2023, the Court conducted a hearing to consider the Debtor’s Emergency

Motion for an Order Under 11 U.S.C. §§ 105(a) and 366 (I) Prohibiting Utility Companies From

Altering or Discontinuing Service on Account of Prepetition Invoices, (II) Approving Deposit

Account as Adequate Assurance of Payment, and (III) Establishing Procedures for Resolving

Requests by Utility Companies for Additional Adequate Assurance of Payment (the “Utility

Motion”),1 filed by the above-captioned Debtor Alexander E. Jones (“Debtor”). The Court finds

that: (i) it has jurisdiction over the matters raised in the Utility Motion pursuant to 28 U.S.C. §§

157 and 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) the relief

requested in the Utility Motion is in the best interests of the Debtor, his estate, and his creditors;

(iv) proper and adequate notice of the Utility Motion has been given and no other or further notice

is necessary; and (v) upon the record herein after due deliberation thereon, good and sufficient

cause exists for the granting of the relief as set forth herein. Therefore,

           IT IS HEREBY ORDERED THAT:

           1.       The Utility Motion is GRANTED.


1
    Capitalized terms not otherwise defined in this Order shall have the meaning ascribed to such terms in the Motion.
ORDER GRANTING DEBTOR’S EMERGENCY UTILITY MOTION - Page 1
        Case 22-33553 Document 108 Filed in TXSB on 01/20/23 Page 2 of 6



       2.      Except in accordance with the procedures set forth below, absent further order of

the Court, each Utility Company is prohibited from (a) altering, refusing, or discontinuing service

to, or discriminating against the Debtor solely on the basis of the commencement of the Chapter

11 Case or on account of any unpaid invoice for services provided before the Petition Date and (b)

requiring the payment of a deposit or other security in connection with the Utility Companies’

continued provision of Utility Services, other than the establishment of the Utility Deposit

Account.

       3.      Debtor is authorized and directed to establish the Utility Deposit Account and shall

deposit $2,488.00 into the Utility Deposit Account for the purpose of providing Utility Companies

without an existing utility deposit adequate assurance of payment for postpetition Utility Services

provided to Debtor. Debtor shall maintain the Utility Deposit Account with a minimum balance

equal to 50% of the Debtor’s estimated monthly cost of Utility Services, which Debtor may adjust

to account for the termination of Utility Services by Debtor or other arrangements with respect to

adequate assurance of payment reached with any Utility Company.

       4.      To the extent Debtor becomes delinquent with respect to a Utility Company’s

account, such Utility Company shall file a Delinquency Notice with the Court and serve such

Delinquency Notice on (a) Debtor, (b) counsel to Debtor, (c) counsel to the official committee of

unsecured creditors, and (d) the United States Trustee for the Southern District of Texas (each, a

“Party in Interest”). If Debtor has not cured such delinquency or no Party in Interest has objected

to the Delinquency Notice within ten (10) days of the receipt of the Delinquency Notice, then with

respect to Utility Companies that do not have an existing utility deposit Debtor will (i) remit to

such Utility Company from the Utility Deposit Account the lesser of (a) the amount allocated in

the Utility Deposit Account for such Utility Company’s account and (b) the amount of postpetition

charges claimed as delinquent in the Delinquency Notice, and (ii) replenish the Utility Deposit

ORDER GRANTING DEBTOR’S EMERGENCY UTILITY MOTION - Page 2
        Case 22-33553 Document 108 Filed in TXSB on 01/20/23 Page 3 of 6



Account for the amount remitted to such Utility Company. With respect to Utility Companies that

have an existing utility deposit, (i) the Utility Company will be permitted to draw down on the

existing utility deposit up to the amount of the postpetition charges claimed as delinquent and (ii)

Debtor shall replenish the deposit the amount drawn down by the Utility Company to cover the

delinquent postpetition charges.

       5.      The following procedures are hereby approved:

            a. If a Utility Company is not satisfied with the assurance of future payment provided
               by Debtor, the Utility Company must file and serve an objection setting forth: (i)
               the location(s) for which Utility Services are provided; (ii) the account number(s)
               for such location(s); (iii) the outstanding balance for each account; (iv) the amount
               of any deposit(s) made by Debtor prior to the Petition Date; (v) a summary of the
               Debtor’s payment history in each account; and (vi) any argument as to why the
               Utility Company has not been provided adequate assurance of payment (an
               “Objection”).

            b. The Court has scheduled a hearing on the Motion for the purpose of considering
               any Objections;

            c. Any Objection by a Utility Company listed on Exhibit A must be served upon, and
               actually received by, (i) the Debtor’s counsel, Crowe & Dunlevy, PC, 2525
               McKinnon Ave, Suite 425, Dallas, Texas 75201, Attn: Vickie L. Driver, by no later
               than seven (7) days prior to the Hearing Date. Debtor may file and serve a reply to
               any such Objection on or before the date that is two (2) days prior to the Hearing
               Date.

            d. Without further order of the Court, Debtor may enter into agreements granting
               additional adequate assurance to a Utility Company serving a timely Objection, if
               Debtor in his discretion determines that the Objection is reasonable.

            e. If the Debtor discovers the existence of a Utility Company not listed on Exhibit A,
               Debtor shall provide written notice of the discovered Utility Company to:

                    i. Office of the United States Trustee, 515 Rusk Street, Suite 3516, Houston,
                       Texas 77002, Attn: Ha Minh Nguyen and Jayson Ruff,
                       ha.nguyen@usdoj.gov and jayson.b.ruff@usdoj.gov;

                   ii. Proposed Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, New York
                       10036, Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L. Brauner
                       and       Melanie       A.        Miller;      dzensky@akingump.com,
                       mbrimmage@akingump.com,                sbrauner@akingump.com        and
                       melanie.miller@akingump.com;

ORDER GRANTING DEBTOR’S EMERGENCY UTILITY MOTION - Page 3
     Case 22-33553 Document 108 Filed in TXSB on 01/20/23 Page 4 of 6



              iii. Counsel to the Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder PC, 350
                   Fairfield Avenue, Bridgeport, Connecticut 06604, Attn: Alinor Sterling,
                   ASterling@koskoff.com and (b) Paul, Weiss, Rifkind, Wharton & Garrison
                   LLP, 1285 Avenue of the Americas, New York, New York 10019, Attn: Kyle
                   J. Kimpler and Martin Salvucci, kkimpler@paulweiss.com and
                   msalvucci@paulweiss.com;

               iv. Counsel to the Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001 Fannin
                   Street, Suite 2700, Houston, Texas 77002, Attn: Avi Moshenberg,
                   avi.moshenberg@mhllp.com and (b) Chamberlain, Hrdlicka, White, Williams
                   & Aughtry, PC, 1200 Smith Street, Suite 1400, Houston, Texas 77002, Attn:
                   Jarrod B. Martin, Jarrod.Martin@chamberlainlaw.com; and

               v.   All parties who have filed notices of appearance in this case.

           within two (2) business days after discovering the existence of such Utility
           Company, and, after the expiration of two (2) business days after such notice has
           been provided, Debtor shall (i) file a supplement to Exhibit A which supplement
           shall identify the Utility Company and either the amount of the existing security
           deposit held by the Utility Company or the additional amount of the adequate
           assurance deposit the Debtor proposes to place in the Utility Deposit Account, and
           (ii) serve such Utility Company with notice of entry and a copy of this Interim
           Order.

        f. In the event that a Utility Company not listed on Exhibit A objects to the Debtor’s
           proposal to provide adequate assurance of payment, such Utility Company must
           file and serve on counsel for the Debtor an Objection within fourteen (14) days after
           the date upon which it receives notice of entry of the Order. A hearing on such
           Objection will be set by the Court no sooner than seven (7) days after the date upon
           which such Objection has been filed. The Debtor may file and serve a reply to
           any such Objection on or before the date that is two (2) days prior to such hearing
           date.

        g. All Utility Companies will be deemed to have received adequate assurance of
           payment in accordance with Bankruptcy Code § 366, without the need for an
           additional deposit or other security, until this Court enters an order to the contrary.
           Any Utility Company that fails to make a timely Request shall be deemed to be
           satisfied that the Utility Deposit Account provides adequate assurance of payment
           for future services within the meaning of Bankruptcy Code § 366(c)(2).




ORDER GRANTING DEBTOR’S EMERGENCY UTILITY MOTION - Page 4
        Case 22-33553 Document 108 Filed in TXSB on 01/20/23 Page 5 of 6



       6.      The Debtor shall serve this Order upon each of the Utility Companies listed

on Exhibit A to the Motion, at the addresses listed thereon, by first-class mail, postage prepaid,

promptly after the entry of this Order.

       7.      The inclusion or exclusion of any entity on or from Exhibit A to the Motion or on

or from any amended Exhibit A shall not constitute an admission that such entity is or is not a

“utility” within the meaning of Bankruptcy Code § 366. This Order specifically reserves the

Debtor’s right to argue that (a) any of the entities listed on Exhibit A to the Motion or any amended

Exhibit A is not a “utility” within the meaning of Bankruptcy Code § 366, and (b) any such entity

is compelled by contractual obligation, federal, state or local law, or otherwise, to continue to

furnish services to the Debtor notwithstanding the Debtor’s filing of the Chapter 11 Case.

       8.      Nothing in this Order or the Utility Motion shall be deemed to vacate or modify

any other restrictions on the termination of service by a Utility Company as provided by

Bankruptcy Code §§ 362 and 365 or other applicable law and nothing herein or in the Motion shall

constitute postpetition assumption or adoption of any agreement pursuant to Bankruptcy Code §

365. Nothing in this Order shall be deemed a waiver by the Debtor or any other party of any right

with respect to the assumption or rejection of an executory contract.

       9.     Debtor is authorized to pay on a timely basis in accordance with his prepetition

practices all undisputed invoices in respect of prepetition and postpetition Utility Services rendered

by the Utility Companies to Debtor.

        10.    To the extent applicable, the requirements of Bankruptcy Rule 6004(a) are waived.

        11.    Nothingwithstanding, Bankruptcy 6004(h), to the extent applicable, this Order shall
       be effective and enforceable immediately upon entry hereof.




ORDER GRANTING DEBTOR’S EMERGENCY UTILITY MOTION - Page 5
         Case 22-33553 Document 108 Filed in TXSB on 01/20/23 Page 6 of 6

   12.     This Court shall retain jurisdiction with respect to all matters relating to the

interpretation or implementation of this Order.




           August20,
           January 02,2023
                       2019




INTERIM ORDER GRANTING DEBTOR’S EMERGENCY UTILITY MOTION - Page 6
